SALINA M. KANAI #8096
Federal Public Defender
District of Hawaii

MAX J. MIZONO #10245
Assistant Federal Defender
300 Ala Moana Boulevard, Suite 7104
Honolulu, Hawaii 96850-5269
Telephone: (808) 541-2521
Facsimile: (808) 541-3545
E-Mail:     Max_Mizono@fd.org

Attorney for Defendant
WALTER GLENN PRIMROSE

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, ) MAG. NO. 22-1259 RT
                          )
          Plaintiff       ) NOTICE OF CHANGE OF COUNSEL;
                          ) CERTIFICATE OF SERVICE
      vs.                 )
                          )
WALTER GLENN PRIMROSE     )
(01),                     )
                          )
          Defendant.      )
                          )


                    NOTICE OF CHANGE OF COUNSEL

      NOTICE IS HEREBY GIVEN that MAX J. MIZONO is added as attorney

for Defendant WALTER GLENN PRIMROSE, and SALINA M. KANAI is

terminated as attorney for said defendant.
     DATED: Honolulu, Hawaii, July 25, 2022.


                                   /s/ Max J. Mizono
                                   MAX J. MIZONO
                                   Attorney for Defendant
                                   WALTER GLENN PRIMROSE




NOTICE OF CHANGE OF COUNSEL
United States v. Walter Glenn Primrose, Mag. No. 22-1259 RT
United States District Court, District of Hawaii




                                         2
                          CERTIFICATE OF SERVICE

      MAX J. MIZONO hereby certifies that by the method of service noted

below, a true and correct copy of the foregoing was served on the following at the

last known address on July 25, 2022:

      Served Electronically through CM/ECF:

      THOMAS MUEHLECK
      Assistant United States Attorney
      300 Ala Moana Boulevard, Room 6100
      Honolulu, Hawaii 96850

      Attorney for Plaintiff
      UNITED STATES OF AMERICA


      DATED: Honolulu, Hawaii, July 25, 2022.


                                       /s/ Max J. Mizono
                                       MAX J. MIZONO
                                       Attorney for Defendant
                                       WALTER GLENN PRIMROSE
